
249 S.W.3d 913 (2008)
In the Interest of R.W.H.
No. ED 90270.
Missouri Court of Appeals, Eastern District, Division Four.
April 15, 2008.
Alice A. O'Keefe, St. Louis, MO, for appellant.
James B. Merlo, St. Louis, MO, for juvenile.
Gary L. Gardner, Jefferson City, MO, for respondent.
*914 Before MARY K. HOFF, P.J., SHERRI B. SULLIVAN, J., and GEORGE W. DRAPER, III, J.

ORDER
PER CURIAM.
Robert Herrick (hereinafter, "Father") appeals from the trial court's judgment terminating his parental rights to his minor son, R.W.H. (hereinafter, "Child"). Father raises three points on appeal, arguing the trial court' erred in its application of Sections 211.447.4(2), 211.447.4(4), and 211.447.4(6) RSMo (2000) in that there was not clear, cogent, and convincing evidence to support termination of Father's parental rights.
We have reviewed the briefs of the parties and the record on appeal and no error of law appears. The trial court's judgment terminating Father's parental rights to Child is supported by clear, cogent, and convincing evidence on the record. No precedential or jurisprudential purpose would be served by an opinion reciting the detailed facts and restating the principles of law. However, we are providing a memorandum to the parties, for their use only, setting forth the reasons for this order. We affirm pursuant to Rule 84.16(b).
